Case 9:22-cv-80726-DMM Document 74 Entered on FLSD Docket 06/02/2023 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


ARTHUR BARRY SOTLOFF Individually and
as the Administrator of the Estate of STEVEN
JOEL SOTLOFF; SHIRLEY GOLDIE
PULWER, and LAUREN SOTLOFF,
      Plaintiffs,                                         Case No. 9:22-cv-80726 (DMM) (WDM)
                v.

QATAR CHARITY and QATAR NATIONAL
BANK (Q.P.S.C.),
      Defendants.


                        UNOPPOSED MOTION OF
      DEFENDANT QATAR NATIONAL BANK TO EXCUSE ONE OF ITS COUNSEL
         FROM ATTENDING THE JUNE 8, 2023 SCHEDULING CONFERENCE

         Defendant Qatar National Bank (“QNB”) respectfully moves the Court to excuse one of its

  counsel from attending the June 8, 2023 Scheduling Conference before Magistrate Judge

  Matthewman. Plaintiffs do not oppose this motion. Two other counsel for QNB will attend the

  conference on behalf of QNB.

         1.          On May 31, the Court issued an order requiring that “[a]ll counsel of record” attend

  a Scheduling Conference [Dkt. No. 72]. Magistrate Judge Matthewman set the Scheduling

  Conference to June 8, 2023 at 11:30 a.m. [Dkt. No. 73]

         2.          One of the counsel of record for QNB, Douglas Hallward-Driemeier, will be unable

  to attend the conference on June 8, 2023, at 11:30 a.m., as that time and date conflict with his son’s

  graduation.




                                                      1
Case 9:22-cv-80726-DMM Document 74 Entered on FLSD Docket 06/02/2023 Page 2 of 3




         3.      QNB’s co-counsel, Edward M. Mullins, as well as Michael G. McGovern, a partner

  at Ropes & Gray LLP who has been admitted pro hac vice, will attend the conference on behalf of

  QNB.

         WHEREFORE, Defendant QNB respectfully requests that the Court excuse the appearance

  of Douglas Hallward-Driemeier at the conference set for June 8, 2023 at 11:30 a.m.

                               LOCAL RULE 7.1 CERTIFICATION

         The undersigned counsel hereby certifies that they met and conferred with counsel for the

  Plaintiffs regarding the relief sought herein. Plaintiffs do not oppose this motion.


  Dated: June 2, 2023                                   Respectfully submitted,
                                                        /s/ Edward M. Mullins
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                                                        Counsel for Defendant Qatar National Bank
                                                        (Q.P.S.C.)




                                                   2
Case 9:22-cv-80726-DMM Document 74 Entered on FLSD Docket 06/02/2023 Page 3 of 3




                                    CERTIFICATE OF SERVICE

          I hereby certify that on June 2, 2023, the undersigned electronically filed the foregoing

  document with the Clerk of Court using the Court’s CM/ECF filing system, which will send

  notification of electronic filing to all counsel of record.

                                                          /s/ Edward M. Mullins
                                                          Edward M. Mullins




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